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                                         EXHIBIT A




From :Betty LeM aire<blem aire@ traceylaw firm .com >
D ate:M ay 14,2014 at5:47:20 P M ED T
To:"dthom as@ tcspllc.com "<dthom as@ tcspllc.com >,VickiW olfe<VW olfe@ tcspllc.com >
Cc:ClintCasperson<ccasperson@ traceylaw firm .com >
Subject:RequestforPreservation ofPathology (Patricia Cogzill)

Counsel,attached isaRequestforP reservationofP athology regardingP atriciaCogzillw hoisscheduled
forrem ovalsurgery on6/3/2014.

P leasefeelfreetocontactm ew ithany questions.

T hank you.


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